                          Case 2:07-cr-00307-WBS Document 43 Filed 03/14/08
AO 245C-CAED (Rev. 06/05) Sheet 1 - Amended Judgment in a Criminal Case
                                                                                Page 1 of 6
                                                                       (NOTE: Identify Changes with Asterisks*)


                                          United States District Court
                                                    Eastern District of California

             UNITED STATES OF AMERICA                                         *AMENDED JUDGMENT IN A CRIMINAL CASE
                        v.                                                    (For Offenses Committed On or After November 1, 1987)
                                                                              Case Number: 2:07CR00307-01
                 KRYSTAL LEA FREEMAN
                    aka Krystal Link;                                         Rachelle Barbour, Appointed
                                                                              Defendant’s Attorney
                   aka Kimberly Link
           Date of Original Judgment:              12/17/2007
                   (Or Date of Last Amended Judgment)

Reason for Amendment:
[ ] Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                     [ ] Modification of Supervision Conditions (18 U.S.C. §3563(c) or 3583(e))
[ ] Reduction of Sentence for Changed Circumstances                              [ ] Modification of Imposed Term of Imprisonment for Extraordinary and
      (Fed R. Crim. P. 35(b))                                                        Compelling Reasons (18 U.S.C.§3582(c)(1))
[ ] Correction of Sentence by Sentencing Court (Fed. R. Crim P. 35(c))           [ ] Modification of Imposed Term of Imprisonment for Retroactive
                                                                                     Amendment(s) to the Sentencing Guidelines (18 U.S.C.§3582(c)(2))
[ ] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)            [ ] Direct Motion to District Court Pursuant to [ ] 28 U.S.C. §2255
                                                                                 [ ] 18 U.S.C. §3559(c)(7), * [U] Modification of Restitution Order
THE DEFENDANT:

[U]         pleaded guilty to count(s): 2, 6 and 14 of the Indictment .
[]          pleaded nolo contendere to counts(s)        which was accepted by the court.
[]          was found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                         Date Offense                                   Count
Title & Section                Nature of Offense                                         Concluded                                     Number(s)
18 U.S.C. 1344                 Bank Fraud                                                5/28/2007                                     2
18 U.S.C. 1028A(a)(1)                       Aggravated Identity Theft                                 5/28/2007                        6
18 U.S.C. 1708                              Possession of Stolen Mail                                 6/4/2007                         14


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]          The defendant has been found not guilty on counts(s)             and is discharged as to such count(s).

[U]         Count(s) 1, 3, 4, 5, 7, 8 and 13           are dismissed on the motion of the United States.

[]          Underlying Indictment is dismissed by District Court on motion of the United States.

[]          Appeal rights given.                                  [U ]   Appeal rights waived.

          IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                                                    March 10, 2008
                                                                                            Date of Imposition of Judgment



                                                                         Signature of Judicial Officer

                                                                                 William B. Shubb, United States District Judge
                                                                                          Name & Title of Judicial Officer

                                                                                                       March 14, 2008
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AO 245C-CAED (Rev. 06/05) Amended Judgment in a Criminal Case - Sheet 2 - Imprisonment
CASE NUMBER:              2:07CR00307-01                                                                 Judgment - Page 2 of 6
DEFENDANT:                KRYSTAL LEA FREEMAN; aka Krystal Link; aka Kimberly Link
                           Date

                                                        IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 27 months as to each of Counts 2 and 14, to be served concurrently to each other; and 24 months as to Count 6,
to be served consecutively to Counts 2 and 14, for a total term of 51 months .




[U ]     The court makes the following recommendations to the Bureau of Prisons: The Court recommends that the
         defendant participate in the 500-Hour Bureau of Prisons Substance Abuse Treatment Program. The Court further
         recommends that the defendant be incarcerated in the Federal facility at Victorville, but only insofar as this
         recommendation accords with security classification and space availability.

[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                         By
                                                                                                 Deputy U.S. Marshal
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AO 245C-CAED (Rev.06/05) Amended Judgment in a Criminal Case - Sheet 3 - Supervised Release
CASE NUMBER:                 2:07CR00307-01                                                                               Judgment - Page 3 of 6
DEFENDANT:                   KRYSTAL LEA FREEMAN; aka Krystal Link; aka Kimberly Link

                                                    SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall be on supervised release for a term of 60 months on Count 2; 12
months on Count 6; and 30 months on Count 14, all to be served concurrently for a total term of 60 months.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
         is a student, as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
      each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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AO 245C-CAED (Rev.06/05) Amended Judgment in a Criminal Case - Sheet 3 - Supervised Release
CASE NUMBER:                 2:07CR00307-01                                                                    Judgment - Page 4 of 6
DEFENDANT:                   KRYSTAL LEA FREEMAN; aka Krystal Link; aka Kimberly Link

                                    SPECIAL CONDITIONS OF SUPERVISION


1.    The defendant shall submit to the search of her person, property, home, and vehicle by a United States probation
      officer, or any other authorized person under the immediate and personal supervision of the probation officer, based
      upon reasonable suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation.
      The defendant shall warn any other residents that the premises may be subject to searches pursuant to this condition;

2.    The defendant shall not dispose of or other wise dissipate any of her assets until the fine and/or restitution order by
      this Judgment is paid in full, unless the defendant obtains approval of the Court;

3.    The defendant shall provide the probation officer with access to any requested financial information;

4.    The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
      probation officer;

5.    As directed by the probation officer, the defendant shall participate in a correctional treatment program (inpatient or
      outpatient) to obtain assistance for drug or alcohol abuse;

6.     As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine, sweat
      patch, etc.) to determine if she has reverted to the use of drugs or alcohol;

7.    The defendant shall not possess or have access to any paging device or cellular phone without the advance
      permission of the probation officer; the defendant shall provide all billing records for such devices, whether used for
      business or personal, to the probation officer upon request;

8.    The defendant shall abstain from the use of alcoholic beverages and shall not frequent those places where alcohol is
      the chief item of sale;

9.    As directed by the probation officer, the defendant shall participate in a program of mental health treatment (inpatient
      or outpatient);

10.    As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and
      shall make payment directly to the vendor under contract with the United States Probation Office of up to $25 per
      month;

11. The defendant shall provide all requested business/personal phone records to the probation officer. The defendant
    shall disclose to the probation officer any existing contracts with telephone line/cable service providers. The
    defendant shall provide the probation officer with written authorization to request a record of all outgoing or incoming
    phone calls from any service provider; and

12. The defendant shall participate and complete an educational program to earn her high school diploma or equivalent,
    as directed by the probation officer.
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AO 245C-CAED (Rev.06/05) Amended Judgment in a Criminal Case - Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:07CR00307-01                                                                                  Judgment - Page 5 of 6
DEFENDANT:                    KRYSTAL LEA FREEMAN; aka Krystal Link; aka Kimberly Link

                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                            Fine                    *Restitution
      Totals:                                           $ 300                               $                      $12,168.23

[]    The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

[U] The defendant must make restitution (including community restitution) to the following payees in the amount listed
    below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
      specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
      3664(I), all nonfederal victims must be paid before the United States is paid.



Name of Payee                                        Total Loss*                  Restitution Ordered Priority or Percentage
Jeffrey S.                                                                              $237.67

Angels Food Market                                                                       $223.11
P.O. Box 1376
Angels Camp, California 95222

Target Asset Protection/Recovery                                                        $1,195.30
1000 Nicollet Mall - TPS 2084
Minneapolis, Minnesota 55403
Ref. #7532532

Raleys - Loss Prevention                                                                 $512.15
500 West Capital Avenue
West Sacramento, California 95605
Ref. Store #302 & 516: Estrada/Freeman

Citibank - AT&T Universal                                                              $10,000.00
Fraud Recovery Division

      TOTALS:                                                                          $12,168.23

[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
      full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
      on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[]    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived for the                   [ ] fine             [ ] restitution

      [ ] The interest requirement for the                             [ ] fine             [ ] restitution is modified as follows:




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245C-CAED (Rev.06/05) Amended Judgment in a Criminal Case - Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:07CR00307-01                                                                               Judgment - Page 6 of 6
DEFENDANT:                    KRYSTAL LEA FREEMAN; aka Krystal Link; aka Kimberly Link

                                                  SCHEDULE OF PAYMENTS


      Payment of the total fine and other criminal monetary penalties shall be due as follows:

A     [ ] Lump sum payment of $              due immediately, balance due

          []        not later than  , or
          []        in accordance with             [ ] C,    [ ] D,    [ ] E, or            [ ] F below; or

B     [U ] Payment to begin immediately (may be combined with [ ] C,                        [ ] D, or [ ] F below); or

C     [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $    over a period of                   (e.g., months or
          years), to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D     [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $  over a period of    (e.g., months or
          years), to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     [ ] Payment during the term of supervised release will commence within   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
          that time; or

F     [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[U] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate: Co-Defendant Richard Estrada in 2:07CR00307-02 WBS


[]    The defendant shall pay the cost of prosecution.

[]    The defendant shall pay the following court cost(s):

[]    The defendant shall forfeit the defendant’s interest in the following property to the United States:
